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17    Attorneys for Plaintiffs

18    (Attorneys for Defendants listed below)
19                                 UNITED STATES DISTRICT COURT
20                                NORTHERN DISTRICT OF CALIFORNIA
21                                     SAN FRANCISCO DIVISION
22
23   PLANNED PARENTHOOD FEDERATION OF                   Case No. 3:16-cv-00236-WHO
     AMERICA, INC., et al.;
24                                                      STIPULATION AND [PROPOSED]
                    Plaintiffs,
            v.                                          ORDER FOR EXTENSION OF
25                                                      TIME FOR PLAINTIFFS’ MOTION
     CENTER FOR MEDICAL PROGRESS, et al.;               FOR ATTORNEYS’ FEES
26
                    Defendants.
27                                                      Judge: Hon. William H. Orrick

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     STIP. AND [PROPOSED] ORDER RE: PLS.’ MOT. FOR ATTORNEYS’ FEES          No. 3:16-cv-00236-WHO
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 1          Pursuant to Local Rules 6-2(a) and 7-12, Plaintiffs and Defendants, by and through their

 2   respective counsel, stipulate and jointly request the Court to order a 28-day extension to the deadline

 3   for Plaintiffs’ motion for attorneys’ fees following the resolution of the merits appeal in this matter.

 4          WHEREAS, pursuant to this Court’s March 29, 2023, order, Plaintiffs’ motion for attorneys’

 5   fees following the resolution of the merits appeal in this matter is presently due 60 days following

 6   the issuance of the mandate (Dkt. 1190);

 7          WHEREAS, the mandate issued October 18, 2023 (Dkt. 1200), making Plaintiffs’ motion

 8   for attorneys’ fees due December 18, 2023;

 9          WHEREAS, Plaintiffs’ counsel initially emailed Defendants’ counsel on December 6, 2023,

10   in an attempt to resolve any disputes with respect to Plaintiffs’ motion for attorneys’ fees;

11          WHEREAS, Mr. Mayer, the attorney for Plaintiffs overseeing the motion, was sick during

12   the week of December 11, 2023;

13          WHEREAS, Plaintiffs’ counsel and Defendants’ counsel have exchanged emails but have

14   not yet had the opportunity to meet and confer regarding Plaintiffs’ motion for attorneys’ fees;

15          WHEREAS, Plaintiffs’ counsel and Defendants’ counsel wish to meet and confer and

16   believe that an extension of 28 days will permit them to find a mutually agreeable date and time;

17          WHEREAS, Plaintiffs’ counsel and Defendants’ counsel believe that such an extension will

18   not otherwise affect any deadlines before this Court;

19          NOW, THEREFORE, THE PARTIES HEREBY STIPULATE AND AGREE to a 28-day

20   extension to the deadline for Plaintiffs’ motion for attorneys’ fees to and including January 15, 2024,

21   such that the Parties, by and through their counsel, may meet and confer regarding the motion.

22                                                  Respectfully submitted,

23   DATED: December 18, 2023                       By:  /s/ Steven L. Mayer
                                                    STEVEN L. MAYER
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25                                                          Attorneys for Plaintiffs

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     STIP. AND [PROPOSED] ORDER RE: PLS.’ MOT. FOR ATTORNEYS’ FEES                     No. 3:16-cv-00236-WHO
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     DATED: December 18, 2023                By:  /s/ Peter Breen
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22                                                  Gerardo Adrian Lopez, and David Daleiden
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     STIP. AND [PROPOSED] ORDER RE: PLS.’ MOT. FOR ATTORNEYS’ FEES            No. 3:16-cv-00236-WHO
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     STIP. AND [PROPOSED] ORDER RE: PLS.’ MOT. FOR ATTORNEYS’ FEES            No. 3:16-cv-00236-WHO
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 1   DATED: December 18, 2023                By: /s/ Catherine W. Short
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     STIP. AND [PROPOSED] ORDER RE: PLS.’ MOT. FOR ATTORNEYS’ FEES            No. 3:16-cv-00236-WHO
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 1                        ATTESTATION PURSUANT TO CIVIL L.R. 5.1(i)(3)

 2          As the filer of this document, I attest that concurrence in the filing was obtained from the

 3   other signatories.

 4
 5   DATED: December 18, 2023                    ARNOLD & PORTER KAYE SCHOLER LLP

 6
                                                 By: /s/ Steven L. Mayer
 7                                                   STEVEN L. MAYER
 8                                                       Attorneys for Plaintiffs
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     STIP. AND [PROPOSED] ORDER RE: PLS.’ MOT. FOR ATTORNEYS’ FEES                  No. 3:16-cv-00236-WHO
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 1                                           [PROPOSED] ORDER

 2          PURSUANT TO STIPULATION, IT IS ORDERED that the deadline for Plaintiffs to file

 3   a motion for attorneys’ fees is extended by 28 additional days to and including January 15, 2024.

 4
 5   Dated: ___________________

 6
 7                                                    Hon. William H. Orrick
                                                      United States Senior District Judge
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     STIP. AND [PROPOSED] ORDER RE: PLS.’ MOT. FOR ATTORNEYS’ FEES                No. 3:16-cv-00236-WHO
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 1                                      CERTIFICATE OF SERVICE

 2          I certify that the foregoing STIPULATION AND [PROPOSED] ORDER FOR

 3   EXTENSION OF TIME TO FILE MOTION FOR ATTORNEYS’ FEES is being served via the

 4   Court’s ECF system on December 18, 2023, to all counsel of record who are deemed to have

 5   consented to electronic service.

 6
 7   DATED: December 18, 2023                   ARNOLD & PORTER KAYE SCHOLER LLP

 8
                                                By: /s/ Steven L. Mayer
 9                                                  STEVEN L. MAYER
10                                                     Attorneys for Plaintiffs
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     STIP. AND [PROPOSED] ORDER RE: PLS.’ MOT. FOR ATTORNEYS’ FEES                No. 3:16-cv-00236-WHO
